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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 DEBORAH CLARK,

                      Plaintiff,

 v.                                                     Case No: 6:17-cv-692-Orl-78EJK

 FDS BANK and DEPARTMENT
 STORES NATIONAL BANK,

                      Defendants/Third
                      Party Plaintiff,

 RONDA MERCER,

                      Third Party
 Defendant.
                                           /

                                           ORDER

        THIS CAUSE is before the Court on periodic review of the file. On February 14,

 2020, the parties filed a Joint Notice of Class Settlement (Doc. 249), wherein the parties

 advised this Court that a settlement has been reached in this matter.

        It is hereby ORDERED and ADJUDGED that the parties shall file a joint motion for

 preliminary approval of the settlement or otherwise advise the Court of the status of this

 litigation on or before April 30, 2020.

        DONE AND ORDERED in Orlando, Florida on April 9, 2020.
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 Copies furnished to:

 Counsel of Record




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